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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

Blockquarry Corp. f/k/a ISW Holdings, Inc.,       )   Civil Action No. 7:23-cv-01427-TMC
                                                  )
                      Plaintiff and Third-Party )
                      Defendant,                  )
                                                  )
               vs.                                )
                                                  )
Litchain Corp. and Gaffney Board of Public Works, )
                                                  )
                      Defendants.                 ) BITMAIN’S MOTION TO INTERVENE
                                                  )
                                                  )
                                                  )
Gaffney Board of Public Works,                    )
                                                  )
                     Defendant and Counter-       )
                     /Cross-Claimant              )
                                                  )
                                                  )
               vs.                                )
                                                  )
Blockquarry Corp. f/k/a ISW Holdings, Inc.,       )
Counterclaim-Defendant,                           )
                                                  )
                     Counterclaim-Defendant       )
                                                  )
                                                  )
                      and                         )
                                                  )
Litchain Corp.                                    )
                                                  )
                      Crossclaim-Defendant        )
                                                  )
                                                  )

       Pursuant to Fed. R. Civ. P. 24, Bitmain Technologies Georgia Limited (“Bitmain”) moves

the Court to allow Bitmain to intervene in this litigation to seek: (1) an order to maintain the status

quo in order to protect and preserve the safety of Bitmain’s 4,513 bitcoin mining servers (the

“Mining Servers”) previously located at a data center owned by the Gaffney Board of Public

Works (“Gaffney BPW”) until Bitmain obtains appropriate relief in a pending arbitration

proceeding brought against Blockquarry Corp. f/k/a ISW Holdings, Inc. (“Blockquarry”); (2) a

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determination that Blockquarry and/or Gaffney BPW violated the Court’s April 12, 2023 Order

prohibiting the parties from exposing the Mining Servers to spoliation, waste, or dissipation and

granting appropriate relief; and (3) an order enforcing the settlement agreement between Gaffney

BPW and Blockquarry.

       Pursuant to Local Rule 7.02, Bitmain certifies that it has contacted counsel for Blockquarry

and Gaffney BPW seeking their consent to this motion. Gaffney BPW does not consent. As of

the filing of this Motion, counsel for Blockquarry has not responded. Due to the urgency of the

situation and Blockquarry’s pattern of delay, Bitmain files this motion now.

       WHEREFORE, Bitmain respectfully requests that this Court allow Bitmain to intervene

in this litigation to file the complaint attached hereto as Exhibit A and to seek other relief as

discussed above.



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                                       Limited



Columbia, South Carolina
March 27, 2024




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